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CAUSE NO. 348-251999-11

TRENCH TECH IN THE DISTRICT COURT

)

INTERNATIONAL, INC., )

)

Plaintiff, )

)
VS. ) TARRANT COUNTY, TEXAS

)

HAROLD RANDOLPH LENNARD, )
JR., RONALD LYNN PERDUE )
d/b/a CRP ENTERPRISES, )
CATHY LEA PERDUE, C.R.P. )
MACHINE & WELDING, INC., )
and CONEX EQUIPMENT )
MANUFACTURING, LLC, )
)
)

Defendants. 348TH JUDICIAL DISTRICT

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ORAL DEPOSITION OF
HAROLD RANDOLPH LENNARD, JR.

FEBRUARY 23, 2018

FOR IO RO IO IO OR RO RR OR OI IOI RO IIR IO IORI RI ke

ORAL AND VIDEOTAPED DEPOSITION OF HAROLD RANDOLPH
LENNARD, JR., produced as a witness at the instance of
the Plaintiff, and duly sworn, was taken in the
above-styled and -numbered cause on the 23rd of February
2018, from 10:10 a.m. to 3:00 p.m., before Jennifer S.
Ryan, CSR, in and for the State of Texas, reported by
machine shorthand at the offices of Frank Law Firm, PLLC,
1017 William D. Tate Avenue, Suite 110, Grapevine, Texas
76061, pursuant to the Texas Rules of Civil Procedure and

the provisions stated on the record or attached hereto.

 

 

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17 | ALSO PRESENT:
. Ronald Perdue; :
18 Jerry Gilbert;
John Gilbert;
19 Jennifer Ryan, Court Reporter.
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A. Okay.

Q. Even though you were subject to an injunction,
you don't know whether you sold parts to
Diamond H Trenching that was for Trench Tech machines
that are not listed on Exhibit A to the injunction; is
that correct?

A. I know that we told them we couldn't sell
certain parts, and so to the best of my knowledge, we
haven't made them new.

MR. FRANK: Which exhibit are we up to
now?

THE REPORTER: I think it will be 11.

MR. FRANK: 11?

THE REPORTER: Unless I'm wrong.

THE WITNESS: I've got 10.

(Exhibit Number 11 marked.)

QO. (BY MR. FRANK) I handed you what's been marked
as Plaintiff's Exhibit 11.

Are these the documents that your attorney

provided to us?

A. I have no idea.
Q. So you don't recognize those documents; is that
correct?

A. No, I don't. No, I don't.

Q. Let me have you go through those documents.

 

 

 

 

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A. Pretty much, yeah.

Q. Is there anything you'd like to clear up in
your testimony or that you want to correct?

A. Not that I can remember. Not that I can think
of right now. This is all so fast, and I'm not used to
doing all this. I told you I didn't remember what Kevin
Wood said after he had the meeting with you, but since
I've had plenty of time to think about that, he basically
told me that the first 45 minutes, y'all got to know each
other. And then after that, you asked him, did he see
any drawings -- had he seen any Trench Tech drawings over
there, had he -- what did he use to inspect parts with,
and he said he used an inspection sheet. And that's
basically the most -- you know, that you asked the
questions several different times. So that's what I can
remember that we had to talk about. Anything else that
was in that, I'm not sure.

Q. Did he tell you about the documents that I
showed him that day?

A. No.

Q. Okay. Were you aware of these documents before
today regarding American Augers?

A. No.

QO. Is there anybody else that you're aware of

having talked to regarding this lawsuit that you haven't

 

 

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mentioned already?

A. I might have -- I think I said something to
Roger Henning.

Q. Who is Roger Henning?

A. Diamond H Trenching.

Q. And what did you tell -- or what did you
discuss with Roger Henning?

A. That they were exercising their injunction
against me again.

Q. And how did they know that, or did you -—- I
mean, so you told him that the injunction --

A. Yeah.

Q. So did Diamond H know about this injunction
that was in place?

A. They did from years ago.

QO. Okay.

A. Because when -—- basically, whenever we did the

lawsuit deal and made the agreement back in August
of 2012, at different times I talked to Roger and David

that there was parts that I couldn't make anymore for

them.

Q. Okay. So going back to the folks that you told
about this injunction, I think you said that David Conlon
knew of this injunction; is that correct?

A. Yes, Sir.

 

 

 

 

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1 QO. Roger Henning would have known about this

2]|injunction shortly after it was issued --

3 A. Uh-huh.

4 Q. -- is that correct?

5 Who else would have been told of this

6 |injunction shortly after it was issued?

7 A. Let me think about this a minute because you're

8 | talking about going back -- |

9 QO. Yes, sir.
10 A. -- five and a half years. ;
11 Q. I understand.
12 I.want you to think back carefully and
13} give me an answer as honestly as you can. |
14 A. Nelson Lewis, probably.
15 Q. Who is Nelson Lewis? |
16 A. Hank Lewis at Nelson Lewis.
17 Q. Who is Hank Lewis? ,
18 A. He owned Nelson Lewis. Nelson Lewis was his :
19|father, and that's the name of the company. :
20 Q. How about at Custom Trench, did you -~ did they |
21]know of this injunction? | |
22 A. Steve called me and -- :
23 Q Well —- |
24 A. -~- made a comment about that.
25 O Let me go back to the injunction that was

 

 

 

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issued back in --

A. 2012?

Q. -- 2012.

Did he know at that time that there was an
injunction in place?

A. I think I told him, you know, that there was
certain parts that I couldn't make for him because he had
called me at various times wanting to know, and I said,
"Well, I can't really supply that part, or I can supply
those parts but I can't do these parts."

Q. Did anybody ask you to provide the parts
anyway?

A. I don't know.

Q. Do you remember anybody who had asked you to
provide the parts anyway?

A. Not that I can remember. I'd like to tell you
yes or no, but I can't tell you one way or the other
because I can't remember.

MR. FRANK: Ali right. I'm going to pass
the witness.
EXAMINATION
BY MR. HORGER:

oO. Mr. Lennard, you know who I am, so we'll skip

that, but I want to be sure that you understand that --

my questions to you. I want you to respond to them and

 

 

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